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 Name: J              D
 Relationship to Victim: Mother of G                  S
 Date of Incident: March 8, 2019
 Location: Jackson, Michigan

 To the Honorable Court,

 Good morning your Honor, I would first like to thank you for allowing me to address the court
 this morning. My name is J        , and I am the mother of G             S        — my
 daughter, my caregiver, and the light of my life. On March 8, 2019, my daughter was poisoned
 with fentanyl without her knowledge, by a member of the Thoroughbred Family Gang, under the
 leadership of the man being sentenced today.

 This man is not a bystander. He is not just one part of the problem — he is the head of this
 violent, reckless, and heartless organization. Under his leadership, this gang has taken lives,
 destroyed families, and devastated an entire community. These are not isolated events. These are
 coordinated acts of destruction, and for six years I have lived with my head on a swivel, under
 police protection because one of this gangs members felt it necessary to have a letter PLACED in
 my mailbox by his cronies while he was first arrested. This gang has spread poison and death
 without remorse. What else can you call that but terrorism?

 G          —G          — was not just another victim. She was a real person with a beautiful soul.
 She loved animals, music, and reading — she always had a book in her hand. She had the kind of
 laugh that could lift the weight off your shoulders and touch your soul. She was smart, kind, and
 driven. I raised her as a single mother while putting myself through college, teaching her what it
 means to be a good person, to have values, morals, and to contribute to the world in a meaningful
 way.

 She made one mistake — a mistake that cost her everything. She didn’t know she was being
 given fentanyl. She didn’t know that the decision she made that night would take her life. But
 she paid the ultimate price for it. She deserved a second chance. She deserved to learn and grow
 from that mistake. Instead, I will never get to watch my daughter graduate from college, walk
 down the aisle, or hold my grandchildren. Every hope I had for her future — for our future —
 was stolen.

 I am disabled, and G        was my caregiver. She paid our bills. She took care of me. Since her
 death, I have been left to survive without her physically, financially, and emotionally. The
 emptiness in my life is overwhelming. The silence in our home is deafening. Her absence is a
 pain I carry every single day.

 But I am not only speaking for myself or for G     . I am also speaking for the nameless and
 voiceless victims — the others who did not survive the grip of fentanyl, the families left behind
 with broken hearts and unanswered questions. This is a public health crisis, yes, but more than
 that — this is a crisis of accountability.
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 I am asking the court to deliver justice — not just for G        , but for every life touched by this
 gang’s violence. The defendant is facing 15 years to life. I am asking for the maximum. Nothing
 less than the full weight of the law is appropriate. He should not be allowed to walk freely
 among us again. Not after the lives he’s helped destroy. Not after the terror he’s unleashed in our
 community.

 G                S          mattered. Her life had value. And even in death, she still deserves
 dignity, honor, and justice. I will continue to speak her name. I will continue to fight for her, and
 for others like her, until this system stops allowing these predators to operate unchecked.

 Thank you for allowing me to share her story — and mine.



 Respectfully,

 J          D
